Case 25-30155 Document 80-8 Filed in TXSB on 05/14/25 Page 1 of 21
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 1
                                                           2 of 20
                                                                21




                                                                EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 2
                                                           3 of 20
                                                                21




                                                                EXHIBIT G
Case 25-30155 Document
Case 25-30155 Document 68-7
                       80-8 Filed
                            Filed in
                                  in TXSB
                                     TXSB on
                                          on 05/05/25
                                             05/14/25 Page
                                                      Page 3
                                                           4 of
                                                             of 20
                                                                21




                                                                EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 4
                                                           5 of 20
                                                                21




                                                                EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 5
                                                           6 of 20
                                                                21




                                                                EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 6
                                                           7 of 20
                                                                21




                                                                EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 7
                                                           8 of 20
                                                                21




                                                                EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 8
                                                           9 of 20
                                                                21




                                                                EXHIBIT G
Case25-30155
Case 25-30155 Document
              Document80-8
                       68-7 Filed
                            Filedin
                                  inTXSB
                                    TXSBon
                                         on05/14/25
                                           05/05/25 Page
                                                    Page10
                                                         9 of
                                                            of20
                                                               21




                                                               EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 10
                                                           11 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 11
                                                           12 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 12
                                                           13 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 13
                                                           14 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 14
                                                           15 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 15
                                                           16 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 16
                                                           17 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 17
                                                           18 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 18
                                                           19 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 19
                                                           20 of 20
                                                                 21




                                                                 EXHIBIT G
Case 25-30155 Document 68-7
                       80-8 Filed in TXSB on 05/05/25
                                             05/14/25 Page 20
                                                           21 of 20
                                                                 21




                                                                 EXHIBIT G
